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                                                     U.S. Department of Justice

                                                     United States Attorney
                                                     Southern District of New York


                                                     The Silvio J. Mollo Building
                                                     One Saint Andrew’s Plaza
                                                     New York, New York 10007



                                                     March 16, 2022
BY ECF

Hon. Sidney H. Stein
United States District Judge
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, NY 10007

       Re:     United States v. Inigo August Philbrick, 20 Cr. 351

Dear Judge Stein:

        The parties respectfully request a brief adjournment of their respective deadlines to submit
sentencing submissions. The defense requests to adjourn their sentencing submission deadline
from March 24, 2022, to March 28, 2022, and the Government requests to adjourn its sentencing
submission deadline from March 31, 2022, to April 4, 2022. The parties request the brief
adjournment in order to have additional time to prepare their sentencing submissions. The parties
do not seek to adjourn the sentencing scheduled for April 8, 2022, at 11:30 a.m.


                                                     Respectfully submitted,

                                                     DAMIAN WILLIAMS
                                                     United States Attorney

                                              By:    ________________________________
                                                     Cecilia E. Vogel
                                                     Jessica Feinstein
                                                     Assistant United States Attorneys
                                                     (212) 637-1084/1946

cc: Jeffrey Lichtman, Esq., and Jeffrey Einhorn, Esq., via ECF
